Case 3:13-cv-03813-B Document 1-1 Filed 09/19/13   Page 1 of 2 PageID 6




      EXHIBIT A
    Case 3:13-cv-03813-B Document 1-1 Filed 09/19/13            Page 2 of 2 PageID 7



                       INDEX OF STATE COURT DOCUMENTS



  EXHIBIT          DATE FILED                             DOCUMENT

       C        September 10, 2013   Plaintiff’s Original Petition and Application for
                                     Injunctive Relief

       D        September 10, 2013   Citation Issued to Grace Presbytery, Inc.

       E        September 10, 2013   Temporary Restraining Order Issued to Grace
                                     Presbytery, Inc.

       F        September 10, 2013   Civil Case Information Sheet

       G        September 10, 2013   Temporary Restraining Order to Grace Presbytery, Inc.

       H        September 10, 2013   Deposit Information Sheet for Highland Park
                                     Presbyterian Church Cash Bond

       I        September 10, 2013   Affidavit of Michael W. Crain

       J        September 13, 2013   Plaintiff’s Motion for Admission of Non-Resident
                                     Attorney Pro Hac Vice

       K        September 13, 2013   Kent C. Krause’s Motion in Support of Lloyd J.
                                     Lunceford’s Motion Pro Hac Vice

       L        September 13, 2013   Non-Signed Proposed Order Admitting Lloyd J.
                                     Lunceford Pro Hac Vice

      M         September 13, 2013   Return of Notice of Temporary Injunction Hearing to
                                     Grace Presbytery, Inc.

       N        September 13, 2013   Return of Temporary Restraining Order to Grace
                                     Presbytery, Inc.

       O        September 13, 2013   Return of Citation to Grace Presbytery, Inc.
US 2094240v.1
